Case 2:21-cv-17811-KM-AME Document 32 Filed 03/21/23 Page 1 of 2 PageID: 1348




                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                               _______________

                                    No. 22-2087
                                  _______________

                                     CHRIS DOE,
                                             Appellant

                                           v.

 RUTGERS, The State University of New Jersey, and JEWELL BATTLE, in her official
  capacity as the OPRA ADMINISTRATOR and RECORDS CUSTODIAN of Rutgers
                                   University
                                _______________

                   On Appeal from the United States District Court
                            for the District of New Jersey
                          (D.C. Civil No. 2-21-cv-17811)
                     District Judge: Honorable Kevin McNulty
                                  _______________

                    Submitted Under Third Circuit L.A.R. 34.1(a):
                                 February 9, 2023
                                _______________

              Before: CHAGARES, Chief Judge, SCIRICA, and SMITH,
                               Circuit Judges.
                              _____________

                                    JUDGMENT
                                   ______________

      This cause came to be considered on the record from the District Court for the

District of New Jersey and was submitted on February 9, 2023. On consideration

whereof, it is hereby ORDERED and ADJUDGED by this Court that the orders of the

District Court entered on March 2, 2022 and May 23, 2022 are hereby AFFIRMED. All
Case 2:21-cv-17811-KM-AME Document 32 Filed 03/21/23 Page 2 of 2 PageID: 1349




of the above in accordance with the Opinion of this Court. Costs are taxed against the

appellant.


                                                              ATTEST:



                                                              s/ Patricia S. Dodszuweit
                                                              Clerk

Dated: February 27, 2023




                                            Certified as a true copy and issued in lieu
                                            of a formal mandate on March 21, 2023


                                           Teste:
                                           Clerk, U.S. Court of Appeals for the Third Circuit




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